Case 4:22-cv-04112-KES Document 215 Filed 09/01/23 Page 1 of 3 PageID #: 5587




                           UNITED STATES DISTRICT COURT
                            DISTRICT OF SOUTH DAKOTA
                                SOUTHERN DIVISION

BUERGOFOL GmbH,                                          Case No. 4:22-cv-04112
              Plaintiff,                            DECLARATION OF MICHAEL
                                                     NEUSTEL IN SUPPORT OF
vs.                                                OMEGA’S MOTION TO STRIKE
                                                   BUERGOFOL’S OPPOSITION TO
OMEGA LINER COMPANY, INC.,
                                                   OMEGA’S MOTION TO COMPEL
              Defendant.                           (DKT. 195) AND TO SANCTION
                                                      COUNSEL FOR ABUSIVE
                                                      LITIGATION CONDUCT


       I, Michael Neustel, hereby declare as follows:
       1.     I am one of the attorneys of record for Defendant Omega Liner Company, Inc.
(“Omega”), have direct knowledge of the facts stated herein, and submit this declaration in
support of Omega’s Motion to Strike Buergofol’s Opposition to Omega’s Motion to Compel
(Dkt. 195) and to Sanction Counsel for Abusive Litigation Conduct.
       2.     On January 24, 2023, during a meet-and-confer call regarding Omega’s
Interrogatory No. 4 requesting prior art known to Buergofol, Lester Wallace, counsel for
Plaintiff Buergofol GmbH (“Buergofol”) referred to the interrogatory as “ridiculous” and
Darien Wallace referred to Interrogatory No. 4 as an “amateurish interrogatory.”
       3.     Attached hereto as Exhibit A is a true and correct copy of correspondence
dated January 30, 2023, from Darien Wallace, counsel for Buergofol.
       4.     Attached hereto as Exhibit B is a true and correct copy of correspondence
dated March 23, 2023, from counsel for Omega to counsel for Buergofol.
       5.     Attached hereto as Exhibit C is a true and accurate transcript of a voicemail
from Lester Wallace, counsel for Buergofol, on March 27, 2023, at 2:49 p.m. CT left on my




                                             1
Case 4:22-cv-04112-KES Document 215 Filed 09/01/23 Page 2 of 3 PageID #: 5588




cell phone. I possess a digital audio file of this voicemail, which is available upon request by
the Court.
        6.    During a meet-and-confer call held on March 31, 2023, at 1:30 pm CT, Lester
Wallace referred to me as a “fool.”
        7.    Attached hereto as Exhibit D is a true and correct copy of an email sent on
March 31, 2023, at 6:38 p.m. CT, from counsel for Omega to counsel for Buergofol.
        8.    During a meet-and-confer call held on April 14, 2023, Lester Wallace stated to
Omega’s counsel, “You are so uninformed,” and “I am not going to wait for you to get
educated.”
        9.    During a meet-and-confer call held on April 6, 2023, Lester Wallace exhibited
antagonism and launched professional attacks against Omega’s counsel including referring to
one of Omega’s motions filed the day before as an “embarrassment.” Omega’s counsel
repeatedly instructed Lester Wallace to cease his attacks, or they would end the call. Despite
these repeated warnings, Lester Wallace continued with his attacks, leading Omega’s counsel
to terminate the call.
        10.   During a meet-and-confer call held on July 6, 2023, at 11:00 a.m. CT, Lester
Wallace repeatedly interrupted Omega’s counsel stating the meet-and-confer was a “waste of
time.” During the same meet-and-confer, Lester Wallace told me to “stop asking dumb
questions.” During the same meet-and-confer, Lester Wallace told me, “It is always a waste
of my time talking to you.”
        11.   During a meet-and-confer call held on August 1, 2023, at 12:00 p.m. CT,
Lester Wallace referred to me as “stupid.” During the same meet-and-confer, Darien Wallace
referred to my objections as “stupid.”
        12.   Attached hereto as Exhibit E is a true and correct copy of correspondence
dated August 1, 2023, from counsel for Omega to counsel for Buergofol, summarizing the
meet-and-confer held on August 1, 2023.



                                               2
Case 4:22-cv-04112-KES Document 215 Filed 09/01/23 Page 3 of 3 PageID #: 5589
